Case: 4:22-cr-00651-RWS-SPM Doc. #: 6 Filed: 11/18/22 Page: 1 of 4 PageID #: 11




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 ) No. 4:22-cr-00651-RWS-SPM
                                                    )
 SHAQUILLE R. PAYNE,                                )
                                                    )
        Defendant.                                  )

                 MOTION FOR PRETRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its Attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri, and C. Ryan Finlen, Assistant United

States Attorney for said District, and moves the Court to order Defendant detained pending trial

pursuant to Title 18, United States Code, '3141, et seq.

       As and for its grounds, the United States of America states as follows:

       1.      Defendant is charged with possessing fentanyl with intent to distribute it, in

violation of Title 21, United States Code, Section 841(a)(1), as well as possessing multiple firearms

in furtherance of that drug-trafficking crime, in violation of Title 18, United States Code, Section

924(c). Upon conviction, Defendant faces a mandatory term of imprisonment of no less than five

years, consecutive to any sentence imposed on the drug-trafficking charge.

       2.      The current charges are not Defendant’s first exposure to drug-trafficking charges.

In 2013, in City of St. Louis case number 1322CR02188-01, Defendant was charged with

delivery/possession of a controlled substance in a corrections facility or county jail. Although that

charge resulted in a suspended imposition of sentence and two years of probation, Defendant’s

criminal history includes multiple charges for parole and probation violations.
Case: 4:22-cr-00651-RWS-SPM Doc. #: 6 Filed: 11/18/22 Page: 2 of 4 PageID #: 12




       3.      According to St. Louis Metropolitan Police Department report 22-24407, detectives

in St. Louis conducted two controlled purchases of fentanyl from Defendant in May 2022. Using

that and other information, detectives searched Defendant’s apartment on June 8, 2022. Not only

did detectives encounter Defendant at the residence, but two minors were also present. As a result

of that June search, law enforcement recovered more than 19 grams of fentanyl with packaging

materials such as cutting agents, capsules, and a pill press.

       4.      To protect his drug distribution business, law enforcement also seized a small

arsenal from Defendant’s apartment, including two stolen firearms. The four recovered firearms

included, a stolen Taurus Armas make, G3 model 9mm semi-automatic pistol; a stolen Smith &

Wesson make M&P 40 Shield model, .40 caliber pistol; and a Brigade Mfg. Inc. make, BM-F-9

model, 9mm semi-automatic pistol; and a Chongqing Jianshe Industry make, M12AK model (AK-

style), 12-gauge caliber shotgun. Any doubt as to whether these firearms belonged to Defendant

evaporated when Defendant asked the detectives, “Ah man you are taking my guns?”

       5.      The danger Defendant posed to the community did not end after the June seizure.

The SWAT team’s search of Defendant’s apartment and the seizure of Defendant’s firearms did

not prompt Defendant to abstain from the firearms. When agents with the ATF entered Defendant’s

same residence on the morning of November 18, 2022, with an arrest warrant, Defendant was

present with another adult male – a convicted felon – as well as three minors.

       6.      During the protective sweep of the apartment, ATF agents discovered that

Defendant has since replaced the arsenal seized on June 8. Less than six months after the seizure

of the firearms listed above, ATF agents discovered that Defendant acquired an American Tactical,

AR-15 variant pistol with an attached MFT magazine containing 29 rounds of live ammunition; a

Smith & Wesson, revolver; a Girsan, 9mm semi-automatic pistol; a 30-round capacity magazine
Case: 4:22-cr-00651-RWS-SPM Doc. #: 6 Filed: 11/18/22 Page: 3 of 4 PageID #: 13




for a .45 caliber firearm; a 40-round capacity magazine for a 9mm firearm; a 15-round capacity

magazine for a Glock, 9mm semi-automatic firearm; and two bags containing a total of

approximately 45 rounds of 7.62 caliber ammunition.

         WHEREFORE, the United States requests this Court to order Defendant detained prior to

trial.

                                                   Respectfully submitted,

                                                   SAYLER A. FLEMING
                                                   United States Attorney

                                                     /s/ C. Ryan Finlen
                                                   C. RYAN FINLEN, #6035918(IL)
                                                   Assistant United States Attorney
                                                   111 South 10th Street, Room 20.333
                                                   St. Louis, Missouri 63102
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Case: 4:22-cr-00651-RWS-SPM Doc. #: 6 Filed: 11/18/22 Page: 4 of 4 PageID #: 14




                               CERTIFICATE OF SERVICE

       I hereby certify that, on November 18, 2022, the foregoing was filed electronically with
the Clerk of the Court to be served by operation of the Court’s electronic filing system upon all
counsel of record.


                                                      /s/ C. Ryan Finlen
                                                    C. RYAN FINLEN, #6035918(IL)
                                                    Assistant United States Attorney
